Metropolitan Government of Nashville                                         Bill Hullander Hamilton
                                          Thomas Harold Strawn Jr.
Davidson County Tennessee                                                    County Trustee
                                          Strawn & Edwards, PLLC
Metropolitan Trustee                                                         210 Courthouse @ 625
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POB 196358                                                                   Georgia Ave
                                          Dyersburg, TN 38024-3071
Nashville, TN 37219-6358                                                     Chattanooga, TN 37402

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